    JS 44      (Rev. 08/16)                  Case 8:19-cv-01715-PX
                                                              CIVILDocument
                                                                    COVER1-1  Filed 06/12/19 Page 1 of 2
                                                                            SHEET
    The JS 44 civil cover sheet and the information contained herein neither re_place nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. /SEE INSTRUCT/ONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                    DEFENDANTS
    Barbara West                                                                                                      WMATA, Jamal Walker and Giancarlo Bonilla

        (b)      County of Residence offirst Listed Plaintiff              Prince George's                               County of Residence of First Listed Defendant                   Washington, D.C.
                                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         NOTE :        IN LAND CONDEMN ATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRA CT OF LAND INV OLVED.


        ( C)     Attorneys (Firm Name. Address. and Telephone Number)                                                    Attornevs (IfK11pw11)                             .
                                                                                                                      W1111am N. .iacxson, 1300 Mercantile Lane, Suite 129-49, Largo, MD
                                                                                                                                                                                                  .

    Nicholas L. Phucas, 600 Fifth St., N.W., Washington, D.G. 20001, (202)                                            20774, (301)364-3101
    9622886

    II. BASIS OF JURISDICTION (Placean                              "X"inOneBoxOn(v)                       III. CITIZENSHIP OF PRINCIPAL                              PARTIES{Placean "X"inOneÈJoxforP/aintiJ
                                                                                                                    (For Diversity Cases Only)                                           and One Box for Defendant)
    O I        U.S. Government                ~ 3      Federa! Question                                                                          PTF      DEF                                           PTF       DEF-
                 Plaintiff                               (U.S. Government Not a Party}                         Citizen of This State             O I      □     I   Incorporated or Principal Place      O 4      O 4
                                                                                                                                                                      of Business In This State

    O 2        U.S. Government                O 4      Diversity                                               Citizen of Another State          O 2      O     2   Incorporated and Principal Place                O 5      O 5
                  Defendant                              (Indicate Citizenship of Parties in Item Ill)                                                                 of Business In Another State

                                                                                                               Citizen or Subject of a           O 3      O     3   Foreign Nation                                  O   6    O 6
                                                                                                                 Forci n Count

    IV NA TURE OF SUIT (Place an ·x·· in One Box Only)                                                                                                 Click here for·..Nature of Suit Code Descriptions
I                 CONTRACT                                                TORTS                                  FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES                                I

    o 110    Insurance                         PERSONAL INJURY                    PERSONAL INJURY              O 625 Drug Related Seizure          O 422 Appeal 28 USC 158                    o       375 False Claims Act
    o 120    Marine                          O 31 O Airplane                  O 365 Personal Injury -                  of Property 21 USC 881      O 423 Withdra wal                          o       376 Qui Tam (31 USC
    o 130    Miller Act                      O 315 Airplane Product                 Product Liability          O 690 Other                                    28 USC 157                                  3729(a))
    o 140    Negotiable Instrument                    Liability               O 367 Health Care/                                                                                              o       400 State Reapportionment
    O I 50   Recovery of Overpayment         O   320 Assault, Libel &               Pharmaceutical                                                       PROPERTY RlGHTS                      o       410 Antitrust
                                                                                                                                                                                                                                 -
             & Enforcement of Judgment                Slander                       Personal Injury                                                O 820 Copyrights                           o       430 Banks and Banking
    o   I 51 Medicare Act                    O   330 Federal Employers'             Product Liability                                              O 830 Patent                               o       450 Commerce
    o   152 Recovery of Defaulted                     Liability               O 368 Asbestos Personal                                              O 840 Trademark                            o       460 Deportation          ,:.   ~
             Student Loans                   O   340 Marine                          Injury Product                                                                                           o       470 Racketeer Influenced and
             (Excludes Veterans)             O   345 Marine Product                  Liability                              LABOR                       S " JAL SE '' RlTY                                Corrupt Organizations
    o   153 Recovery of Overpayment                   Liability                PERSONAL PROPERTY O 710 Fair Labor Standards                        O    861   HIA (1395ft)                    o       480 Consumer Credit
             of Veteran's Benefits           ~   350 Motor Vehicle            O 370 Other Fraud            Act                                     O    862   Black Lung (923)                o       490 Cable/Sat TV
    o   I 60 Stockholders' Suits             O   355 Motor Vehicle            O 371 Tmth in Lending O 720 Labor/Management                         O    863   DIWC/D IWW (405(g))             o       850 Securities/Commodities/
    o   190 Other Contract                           Product Liability        O 380 Other Personal         Relations                               O    864   SS!D Title XVI                              Exchange
    o   195 Contract Product Liability       O   360 Other Personal                 Property Damage O 740 Railway Labor Act                        O    865   RSI (405(g))                    o       890 Other Statutory Actions
    o   I 96 Franchise                               Injury                   O 385 Property Damage O 75 I Family and Medical                                                                 o       891 Agricultural Acts
                                             O   362 Personal Injury -                Product Liability                Leave Act                                                              o       893 Environmental Matters
                                                     Medical Malpractice                                       O 790 Other Labor Litigation                                                   o       895 Freedom of Information
I              REAL PROPERTY                      CIVIL RlGRTS                 PR1SONER PETITIONS              O 791 Employee Retirement             FEDERAL TAX SUITS                                    Act
    O   21 O   Land Condemnation             O   440
                                                   Other Civil Rights       Habeas Corpus:                            Income Security Act          O 870 Taxes (U.S. Plaintiff                o       896 Arbitration
    O   220    Foreclosure                   O   441
                                                   Voting                 O 463 Alien Detainee                                                            or Defendant)                       o       899 Adm inistrative Procedure
    O   230    Rent Lease & Ejectment        O   442
                                                   Employment             O 5 I O Motions to Vacate                                                O 871 IRS- Third Party                                 Act/Review or Appeal of
    O   240    Torts to Land                 O   443
                                                   Housing/                       Sentence                                                                26    use
                                                                                                                                                                  7609                                    Agency Decision
    O   245    Tort Product Liability              Accomm odations        O 530 General                                                                                                       o       950 Constitutionality of
    O   290    All Other Real Property       O 445 Amer. w/Disabilities - O 535 Death Penalty                          fMMíGRATLON                                                                        State Statutes
                                                   Employment               Other:                             O 462 Naturalization Application
                                             O 446 Amer. w/Disabilities - O 540 Mandamus & Other               O 465 Other Imm igration
                                                                                                                                                                                                                                     :
                                                   Other                  O 550 Civil Rights                          Actions
                                             O 448 Education              O 555 Prison Condition
                                                                          O 560 Civil Detainee -
                                                                                  Conditions of
                                                                                  Confinement

    V. ORIGIN                {Placean "X'ï in One Box Only)
    O I        Original           ~2 Removed from                  O 3       Remanded from                O 4 Reinstated or        O 5 Transferred from             O 6 Multidistrict                      O 8 Multidistrict
               Proceeding                State Court                         Appellate Court                   Reopened                    Another District                    Litigation -                       Litigation -
                                                                                                                                           (specify)                           Transfer                           Direct File
                                                  Cite the U.S. Civil Statute under which_you are filing (Do 1101 cite jurisâictional statutes unless diversity):
    VI. CAUSE OF ACTION 1-BWMATA
                           -r-
                             ie_f_
                                 d-es-
                                         Compact,
                                     cr-ip-t-
                                            io-
                                              n""o-
                                                  f-ca....;u_
                                                             Public Law 89-774,
                                                            se_:
                                                                                     paragraph 81
                                                                             ...;....:._-=__,_                                                                                                                                   _
                          Plaintiff claims personal injuries subsequent to motor vehicle accident
    VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION           DEMAND$                                                                                   CHECK YES only if demanded in complaint:
         COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                          JURY DEMAND:                           ~ Yes       O No
    VIII. RELATED CASE(S)
                            (See instructions):
          IF ANY
    DATE
        06/12/2019
    FOR OFFICE USE ONLY

        RE CEIPT#                        AM OUN T                                    APPL YING IFP                                       JUDGE                                 MAG.JUDGE
JS 44 Reverse (Rev. 08/16)   Case 8:19-cv-01715-PX Document 1-1 Filed 06/12/19 Page 2 of 2

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local mies of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

l.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. Ifthere is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box I or 2 should be marked.
         Diversity of citizenship. ( 4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.


V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used to reference related pending cases, if any. Ifthere are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
